           CASE 0:21-cr-00055-MJD-LIB Doc. 1 Filed 03/11/21 Page 1 of 12


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                     UNITED STATES DISTRICT COURT
                        DISTRICT OF MINNESOTA


UMTED STATES OF AMERICA.                        INDICTMENT

                    Plaintiff,                  18 U.S:C.   $ e22(gX1)
                                                18 U.S.C.   S eza(aX2)
      v.                                        18 U.S.C.   $ e24(d)(1)
                                                18 U.S.C.   S 1028A(aX1)
JARED JOHN FIEGE,                               18 U.S.C.   S 1341
                                                18 U.S.C.   S 1343
                    Defendant.                  18 U.S.C.   S 1344
                                                28 U.S.C.   $ 2461(c)



      THE UNITED STATES GRAND JURY CIIARGES:

                                 General Allesations

     At times relevant to this Indictment:

The Defend.ant

      1.     Defendant JARED JOHN FIEGE was a resident of Duluth, in the

State and District of Minnesota.

The U.S. SmaII Business Ad,ministration

      2.     The United States Small Business Administration ("SBA") was an

executive-brhnch agency of the United States government               that    provid.ed

support to entrepreneurs and small businesses. The mission of the SBA was
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to maintain and strengthen the nation's              economy     by   enabling the

establishment and viability of small businesses and
                                          \
                                                            by assisting in            the

economic recovery of communities after disasters.
                                                                             CANNED
                                                                            MAR   LT2021
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                                                                      U.S. DISTRICT CbUHT ST PAUL
                        CASE 0:21-cr-00055-MJD-LIB Doc. 1 Filed 03/11/21 Page 2 of 12




                   3.     As pdrt of this effort, the SBA enabled and provided for loans

             through banks, credit unions, and other lenders. These loans have
             government.b acke   d.   guarantees.

             CARES Act and the Economic             Injury Disaster Relief Prograrn
                   4       The Economic Injury Disaslber Loan ("EIDL") Program was an SBA

             program that provided low-interest financing to small businesses, renters, and.

             homeowners in regions affected by declared. d.isasters.
                                                                                               I


                   5.     The Coronavirus Aid, Relief, and tr)conomic Security ("CARES")

             Act was a federal law enacted in March                2O2O   and designed to provide

;           , emergency fi.nancial assistance to the millions of Americans who are suffering           '


             the economic effects cauded by the COVID-19 pandemic.

                   6.      One source of relief provided by the CARES Act was the

    .        authorization for the SBA to provide EIDLs               to eligible small businesses
             e4periencing substantial financial disruption due to the COVID-19 pandemic.

                   7.     In addition, the CARES Act authorir"d the SBA to issue advances
        '    of up to $10,000 to small businesses        within three days of applying for an EIDT,.

             If awarded, EIDL advances did not have to be repaid.

                   8. In order to obtain an EIDL and an EIDL advance, a qualifiiing
             business wab required        to submit an application to the SBA          and. provid.e

             information about its operations. The applicant was required to certifii that all



                                                    '2
          CASE 0:21-cr-00055-MJD-LIB Doc. 1 Filed 03/11/21 Page 3 of 12




information         in the application was true and correct to the best of the
applicant's knowledge.
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        9. EIDL applications were submitted directly to the' SBA and
processed.    by the agency with support from a government contractor, Rapid.

Finance. Any funds issued und.er an EIDL or advance were issued directly by
               1


'the SBA into bank accounts designated by the applicant.

(Jnemp loyment Insur anc e

        L0.        Mlhereas the EIDL program was d.esigned to assist businesses,

Unemployment Insurance ("UI") was a cash benefits program designed to

assist individuals.        UI was a joint state-federal'program pursuant to which
eligible individuals who have lost employment earnings could apply for cash

benefi.ts. The Departrnent              of Employment and Economic          Development

("DEED") administered UI benefits in Minnesota.

Releu   ant   F i.n anci aI In   stitutions

        11.        Bank   1 was a   fi.nancial institution based in the State of Minnesota

holding deposits insured. by the Federal Deposit fnsurance Corporation.

        12.        Bank 2 was a financial institution based in the State of Virginia
                                                                       :j




hold.ing d.eposits insured. by the Fed.eral Deposit Insurance Corporation,

        18.        Bank 3 was a fi.nancial institution based in the State of South

Da\ota holding , deposits insured by the Federal Deposit                       Insurance

Corporation.

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         CASE 0:21-cr-00055-MJD-LIB Doc. 1 Filed 03/11/21 Page 4 of 12




The Defendant's Scheme to Defraud

    , t4.   tr'rom at least   in or about April   2O2O and.   continuing through,

August 2020, in the State and District of Minnesota and elsewhere, FIEGE

knowingly and intentionally devised. and executed. a scheme and artifi.ce to

defraud individ.uals, financial institutions, and state and fed.eral government

programs,   &[ by means of materially false and frhudulent                pretenses,

representations, promises and omissions.

      15.   The manner in which FIEGE enacted his scheme to defraud. was

through identity theft of at least twenty-five real individuals, includ.ing but not

limited to T.L., R.L., 8.S., and C.J.

      16.   For example, FIEGE submitted applications a:for UI benefi.ts using

the names, birth dates, and social securrty numbers belonging to real persons

without their knowledge or consent. In order to apply for EIDL assistance and

advances, FIEGE also invented'fictional business entities, which he linked to

the id.entities of real persons without their knowledge or consent.

      17.    FIEGE established bank accounts with Bank 1 and requested

bank cards be issued. by mail to allow him to withdraw significant amounts of

cash from those accounts

      18.    In   some instanceg, FIEGE submitted the fraudulent     UI and EIDL
                                                                    ,'!


applications with phone numbers and email addresses he had access and

control over, which he would. then use to impersonate the people whose
         CASE 0:21-cr-00055-MJD-LIB Doc. 1 Filed 03/11/21 Page 5 of 12


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identities he had used. FIEGE possessed numerous cell phones and registered

numerous email addresses which he used             in   order to impersonate others.

FIEGE also possessed. and. used. fraudulent passports to impersonate certain

victims, providing them as means of identity verifi.cation.

      19. In other instances,         FIEGE submitted fraudulent UI and EIDL

applications with mailing addresses which did not belong to the persons whose

identities he used,   so   that he could, physically steal mail from the mailboxes at

those adfuesses to receive bank cards or other account information.

                                      COUNTS 1-5
                                     (Mail   Fraud)                                ,   :



      20.       The grand jury incorporates paragraphs      1   through 19 as if fully set

forth herein.

      21.       On or about the dates set forth below, in the State and District of

Minnesota, the defend.ant,.

                                JARED JOHN FIEGE,

did knowingly and unlawfully devise and participate in a scheme and artifice

to defraud and to obtain money and property by means of materially false and

fraud.ulent pretenses, representations, omissions, and. promises, which scheme

and artifice is set forth above; and for the purpose of executing and attempting

to execute the      above-described. scheme and      artifice to defraud., knowingly

caused to be sent, d.elivered, and moved by the United. States Postal Service


                                             D
           CASE 0:21-cr-00055-MJD-LIB Doc. 1 Filed 03/11/21 Page 6 of 12



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and commercial interstate carrier, according to the directions therein, various

mailings, items and things, includitg, but not limited to, the mailings
                      1     rI   '




described below:

''cduiit

    1      May 1,2020       A letter from Bank 1 containing a bank card for
                            the fraudulent account established by F'IEGE
                            using R.L.'s identity in connection with a UI
                            application he made in R.L.'s name.
 2         June 8,2020      A bank card mailed by Bank 2 for the fraudulent
                            bank account established by FIEGE in C.J.'s
                            identitv.
 3         June I0,2020     Abank card mailed by Bank 2for the fraudulent
                            bank account established by FIEGE in T.L.'s
                            identitv.
 4         June 23,2020     A bank card mailed by Bank 2 for the fraudulent
                            account established bv FIEGE in E.S.'s identity.
 5         On or between    A bank card uailed by Bank 3 for the fraudulent
           JuIy 22,2020 and account established by FIEGE in R.L.'s identity.
           Aueust 3.2020


All in violation of Title    18, United States Code,'Secti6n   I34I.
                                        COUNTS 6-9
                                        (Wire Fraud)
'       22. Paragraphs 1 through 19 are incorporated by reference as if fullv
set forth herein.

    '   23.   Beginning in or around April 2020, and continuing until at least in

or around August z}z},in the State and District of Minnesota, and elsewhere,

the defendant,

                                     JARED JOHN FIEGE,
             CASE 0:21-cr-00055-MJD-LIB Doc. 1 Filed 03/11/21 Page 7 of 12




did knowingly and unlawfully devise and participate in a scheme and artffice

to defraud and to obtain money and property by means of materially false and

foauduleirt pretenses, representations, omissions, and promises, which scheme

and artifice is set forth above; and for the purpose of executing and."attempting

to exlcute the above-described scheme and artifi.ce to defraud, knowingly
transmitted and          caused. to be   transmitted by means of wire communications in

interstate and foreign commerce, certain writings, signs, signals, and sounds,
                    i-


including, but not limited. to, the wires described below:
                          jiif"Wirbil:
              :1,:Datb
              -"i (e11 6a,  ilboritli,-
    6            June 20,2020             Electronic submission by FIEGE of EIDL
                                          application to SBA for fictional business entity
                                          usinq C.J.'s identitv.
    -,I          June 23.2020             Electronic submission by FIEGE of EIDL
                                          application to SBA for fictional business entity
                                          usins E.S.'s identitv
    B            June 23,2020             Electronic submission by FIEGE of EIDL
                                          application to SBA for fictional business entity
                                          usins T.L.'s ideniitv
    9            June 26,2020             Electronic . submission by FIEGE of EIDL
                                          application to SBA for fictional business entity
                                          usins R.L.'s identitv

          All inviolation of Tit1e 18, United States       Code, Section 1343.
            CASE 0:21-cr-00055-MJD-LIB Doc. 1 Filed 03/11/21 Page 8 of 12




                                   COUNTS 10-11
                                   (Bank Fraud)

         24.   The grand jury incorporates paragraphs   1   through 19 as if fully set

fo$h herein.

         25.   On or about the dates set forth below. in the State and District of

Minnesota, the defendant,

                               JARED JOHN FIEGE.

did.   knowingly and unlawfully devise and participate in a scheme and artifice to

d.efraud the below-listed. fi.nancial institutions, which are financial institutions

thenholding deposits insured bythe Federal Deposit Insurance Corporation, and

to obtain the,moneyr, foitdr,    and. assets owned by.and under     the custody and

control bf those below-listed fi.nancial institutions, by means of materially false

and fraud.ulent pretenses, representations, and.promises, as set forth below:

 Count            Date        Financial     False and Fraudulent Pretenses,
                 (on or      Institution     Reprdsentations, and Promises
                about)
 10          July 24,2020    Bank 2        FIEGE identified himself to Bank 2 as
                                           C.J. in order to lifb an account hold
                                           related to fraudulent deposits FIEGE
                                           had made of four stolen checks into an
                                           account FIEGE held in C.J.'s narne.
 11         ,August 10,      Bank 2        FIEGE identified himself to Bank 2 as
             2020                          C.J. and provided C.J.'s date of bfuth
                                           and social security number in an effort
                                           to make funds available in the account
                                           FIEGE held in C.J.'s name.


All in violation of Title   18, United States Code, Section 1344.
             CASE 0:21-cr-00055-MJD-LIB Doc. 1 Filed 03/11/21 Page 9 of 12




                                      COUNTS 12-15      .

                             (Aggravated Identity Theft)

          26.   The grand   j"ry   incorporates paragraphs'1 through 19 as if fully set

forth herein.

          27.   04 or about the dates set forthbelow, inthe State and District of

Minnesota, the defendant,
                      -            JARED JOHN FIEGE,

d.id.   knowingly and unlawfrilty transfer, possess, and. use the below-Iisted means

of identification of another person, during and in relation to a felony violations

enumerated. in Title 18, United States Code, Section 1028A(c), to-wit: wire fraud,

mail fraud, and bank fraud, as set forth below:

,Coiidt

 12           June 20,2020         FIEGE used the name, date of birth, and social
                                   security number belonging to C.J. to apply for an
                                   EIDL. as referenced in Count 6.
 13           June 23,2020         FIEGE used the name, date of birth, and social
                                   security number belonging to E.S. to apply for an
                                   EIDL. as referenced in Count 7.
 t4           June 23,2020         FIEGE used the name, date of birth, social
                                   security number belonging to T.L. to apply for an
                                   EIDL. as referenced in Count B.
 15           June 26.2020         FIEGE used. the name, date of birth, and social
                                   security number belonging to R.L. to apply for an
                                   EIDL. as referenced in Count 9.


AII in violation of Title 18, United States Code, Section 1028A(a)(1).




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          CASE 0:21-cr-00055-MJD-LIB Doc. 1 Filed 03/11/21 Page 10 of 12




                                   COUNf      16
          .           (Felon in Possession of a Firearm)

        28.   The grand jury incorporates paragraphs 1 through 19 as if fully set

forth herein.

        29. On or about August 31,           2020,   in   the. State and District of

Minnesota, the defend ant,'

                              JARED JOHN FIEGE,

having previously been convicted of the following crimes, each of which was

punishable by imprisonment for a term exceed.ing one Yeff, namely,

                                                              Datb of Convict*iqu
                                                              (On-or About)
 Theft by Swindle          St. Louis County, MN               December 11, 20\7

 Theft                     Crow Wing County, MN               October 3,2017
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and knowing that he had been convicted yf at least one crime punishable by

imprisonnent for a term exceed.ing one year and further, knowing that he was

subject    to court orders    restraining him from harassing, stalking, or

threatening another, knowingly possessed.,            in and affecting interstate
commerce, two firearms: a Glock 43,9 mm hand.gun, serial number BDYB166,

and a Sig Sauer handgun, serial nuuiber 66A569604, all in violation of Title

18,   United States Code, Sections 922(S)Q) and92.4(a)(2)-




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          CASE 0:21-cr-00055-MJD-LIB Doc. 1 Filed 03/11/21 Page 11 of 12


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                        FORFEITURE ALLEGATIONS

        30.   Upon conviction of any of Counts 1 through 9 of this Indictment,

mail fraud and wire fraud, the defendant shall forfeit to the United States

pursuant to Title 18, United States Code, Section 981(aX1)(C), as incorporated

by Title 28, United States Code, Section 246!, any property constituting, or

derived foom, proceeds traceable to the violations of Tit1e 18, United States

Code, Section 1341or violations of     Title   18, United States Code, Section 1343,

including, but not limited to: a2005 Ford F-150 flIIN#1FTPW145X5FBO5707)

and $189,796.00 in U.S. Currency seized on or around August 3L, 2020.

        31.   Upon conviction of any of Counts 1 through 9,           if   affecting a

financial institution, or Counts 10 through 11 of this Indictment, bank fraud,

the dbfendant shall forfeit to the United States pursuant to Title 18, United

States Code, Section 982(a)(2)(A), any property constituting, or derived from,

proceeds the person obtained directly or ind.irectly, as the resuLt of violations

of   Title 18,,United States   Code, Section 1341 or   Title 18, United States Code,

Section 1343, or Title 18, United States Code, Section L344,including, but not

limited, to: a 2005 Ford f'-f fO 0IIN #1FTPW145X5FB 05707) and $189,796.00

in U.S. Currency seized on or around August 3L,2020.

        32. If convicted   of Count 16 of this Indictment. the defendant shall

forfeit to the United States, pursuant to Title 18, United States Code, Section

924(d)(1), as incorporated by Title 28, United States Code, Section 2461(c), any

                                          11
        CASE 0:21-cr-00055-MJD-LIB Doc. 1 Filed 03/11/21 Page 12 of 12




firearms, ammunitiorr, rnd accessbries involved. in, connected with, or used. in

the commission of such Count, including but not limited to: a Glock 43, 9 mm

handgun, serial nuniber BDYB166, and.'a Sig Sauer handgun, serial number

664569604, and. any ammunition and accessories seized therewith.

      33.   If any of the above-described forfeitable property is unavailable for

forfeiture, the United States intends to seek the forfeiture ef sufsfitute

property as provided for in Title 21, United States Code, Section 853(p), as

incorporated by Title 28, United States Code, Section zaGI@).



                                A TRUE BILL



ACTING UNITED STATES ATTORNEY                    FOREPERSON




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